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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1049V
                                          UNPUBLISHED


    CATHERINE PRICE,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: March 31, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Laurie Wiesner, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

      On July 19, 2019, Catherine Price filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table Injury, Shoulder Injury Related
to Vaccine Administration (SIRVA), as a result of her October 2, 2017 influneza (“flu”)
vaccination. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

      On January 22, 2021, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On March 30, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $112,500.00 in actual
pain and suffering. Proffer at 1-2. In the Proffer, Respondent represented that Petitioner


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $112,500.00 (representing compensation for actual pain and
suffering) in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 CATHERINE PRICE,

                Petitioner,                            No. 19-1049V
                                                       Chief Special Master Corcoran
 v.                                                    ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On July 19, 2019, Catherine Price (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”) as a result of an influenza vaccine she received on October 2, 2017. Petition at 1-6.

On January 19, 2021, the Secretary of Health and Human Services (“respondent”) filed a Rule

4(c) Report indicating that this case is appropriate for compensation under the terms of the Act,

and on January 22, 2021, the Chief Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation. ECF No. 24; ECF No. 27.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $112,500.00 in actual pain and

suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a
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lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $112,500.00, representing

compensation for actual pain and suffering in the form of a check payable to petitioner,

Catherine Price.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Catherine Price:                              $ 112,500.00

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Acting Deputy Director
                                                      Torts Branch, Civil Division

                                                      /s/ Laurie Wiesner
                                                      LAURIE WIESNER
                                                      Trial Attorney
                                                      Torts Branch, Civil Division
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                                                      Tel: (202) 305-0253
                                                      laurie.wiesner@usdoj.gov

DATED: March 30, 2021




1 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
